                                                                                                                FILED
                                                                                                          CHARLOfiE, NC

                                                                                                             FEB 2   I 2018
                          IN THE LTNITED STATES DISTRICT COURT       US DISTRICT COURT
                     FOR THE WESTERN    DISTRICT OF NORTH CAROLINA WESTERN  D]STRICT OF NC
                                   CHARLOTTE DryISION

                                       DOCKET NO.: 3: I 7cr306-FDW

UNITED STATES OF AMERICA
                                                                           CONSENT ORDER AND
        v.                                                               JUDGMENT OF FORFEITURE
                                                                           PENDING RULE 32.2{c\(2)
(l) TTMOTHY DWAYNE BOWENS

        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property   listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or other
legal interest in the properryt, IT IS HEREBY ORDERED THAT:

        l.     The following property is forfeited to the United States pursuant to 2l U.S.C. $
853, provided, however, that forfeiture of specific assets is subject to any and all third party
petitions under 2l U.S.C. $ 853(n), pending final adjudication herein:

        One Glock model20C pistol, serial number FVW565 and ammunition seized on or about
        November 14,2017 during the investigation.

        2.      The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

        3.        If and to the extent required by Fed. R. Crim. P.32.2(b){6),21 U.S.C. $ 853(n),
and,/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

        4. Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

         5.     Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attorney's Office is authorized to conduct any discovery needed to identifu, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

         6.     As to any specific assets, following the Court's disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall


I In the event that any firearms are subject to tbrfeiture pursuant to this Consent Order, defendant's consent to
forfeiture herein does not constitute a waiver ofany objections to sentencing factors, including any weapon
enhancernent that the Govemment may contend are applicable.




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become the final order of forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

         The parties stipulate and agree that the aforementioned asset(s) constitute property derived
from or traceable to proceeds of Defendant's crime(s) herein or property used in any manner to
facilitate the commission of such offense(s) and are therefore subject to forfeiture pursuant to 21
U.S.C. $ 853. The Defendant hereby waives the requirements of Fed. R. Crim. P. 32.2 and 43(a)
regarding notice of the forfeiture in the charging insffument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment against Defendant. If the Defendant
has previously submitted a claim in response to an administrative forfeiture proceeding regarding
any of this property, Defendant hereby withdraws that claim. If Defendant has not previously
submitted such a claim, Defendant hereby waives all right to do so. As to any firearms listed above
and/or in the charging instrument, Defendant consents to destruction by federal, state, or local law
enforcement authorities upon such legal process as they, in their sole discretion deem to legally
sufficient, and waives any and all right to further notice of such process or such destruction.


R. ANDREW MURRAY
UNITED STATES ATTORNEY



WILLIAM T. BOZIN
Assistant United States Attomey




                                                      CHIEGE           LU OKWARA, ESQ.




Sigrred this the 28'h day of February, 2018.




                                               LTNITED STATES Mhb 19( K^T €                 JUDGE




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